          Case 1:19-vv-01474-UNJ Document 42 Filed 05/05/21 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1474V
                                        UNPUBLISHED


    MICHAEL BERGE,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: April 2, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Jessica Olins, Maglio Christopher & Toale, PA (WA), Seattle, WA, for Petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for Respondent.


                                   RULING ON ENTITLEMENT1

       On September 25, 2019, Michael Berge filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a left shoulder injury related to vaccine
administration (“SIRVA”) causally related to the influenza vaccine he received on October
13, 2018. Petition at ¶¶ 1, 14. Petitioner further alleges that he received the vaccine in
the United States, that he suffered the effects of his SIRVA for more than six months, and
that neither he nor any other person has filed a civil action or received compensation for
his SIRVA, alleged as vaccine caused. Id. at ¶¶ 1, 15, 17-18. The case was assigned to
the Special Processing Unit of the Office of Special Masters.


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
         Case 1:19-vv-01474-UNJ Document 42 Filed 05/05/21 Page 2 of 2




        On March 30, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent has concluded “that [P]etitioner’s claim meets the Table
criteria for SIRVA.” Id. at 5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




                                            2
